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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HoUsToN DIvIsIoN

JosEPH MUsACHIA, §
§
P1aimiff, §
§

V- § Civil Action No. H_13-1163
UNIoN PACIFIC RAILRoAD §
CoMPANY, §
§
Defendant. §

oRDER

 

Pending before the Court is Defendant Union Paciflc Railroad Company’s
Motion for Summary Judgment (Document No. 27). In Plaintift’s Response to
Defendant’s Motion for Summary Judgment (Document No. 34), Plaintiff requests
this case be remanded to state court if summary judgment is denied.l Having
considered the motion, submissions, and applicable law, the Court determines the

motion for summary judgment should be denied and the case should be remanded

 

‘ Plaintz`jf’s Response to Defendant ’s Motl'onfor Summary Judgment, Document NO.
34 at 4 & n.3. Because of this request, along with the facts that Musachia timely motioned
for remand and that he has continued to consistently assert remand is appropriate even after
remand was previously denied by this Court, the Court finds Musachia did not waive
objection to removal, and the Court is not considering remand sua sponte. See Lirette v. N.L.
Sperry Sun, lnc., 820 F.Zd 116, 117 (5th Cir. 1987).

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This case involves the termination of a railroad employee. The issue in this
case is whether the facts give rise to a claim under section 60 of the Federal
Employers Liability Act (“FELA § 60”) or the Railway Labor Act, 45 U.S.C. § 151
et seq. (the “RLA”).

Plaintiff Joseph Musachia (“Musachia”) is a former employee of Defendant
Union Pacific Railroad Company (“Union Paciflc”). In 2007, Geronimo Gutierrez
(“Gutierrez”), a co-worker of Musachia and employee of Union Pacific, suffered an
injury on Union Pacific’s railyard and soon thereafter died. Gutierrez’s widow sued
Union Pacific under FELA for damages related to her late husband’ s injury and death
(“Gonzalez’s FELA case”). In June 2012, Gutierrez gave deposition testimony and
trial testimony in Gonzalez’s FELA case regarding events in the railyard near or on
the date Guitierrez was injured.2 In October 2012, Union Pacific instituted an
investigation into whether Gutierrez’s testimony was dishonest After investigating
and holding an investigation hearing, Union Pacifrc terminated Musachia’s
employment on December 14, 2012.

On March 19, 2013, Musachia filed a petition against Union Paciflc in the

23 4th J udicial District Court of Harris County, Texas, alleging Union Pacific violated

 

2 The parties dispute the exact content of Musachia’s testimony.

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FELA § 60 by discharging him in retaliation for his testimony in Gonzalez’s FELA
case. On April 24, 2013, Union Pacifrc removed the case to this Court on the basis
of federal question jurisdiction, alleging Musachia mislabeled his claim as arising
under FELA § 60 when his claim truly arises under the RLA. Musachia motioned for
remand because FELA § 60 cases are nonremovable. Both parties agreed that if the
case arises under FELA § 60, remand was required; but if the case arises under the
RLA, remand should have been denied. On July 1, 2013, the Court denied remand.

On April 1, 2014, Union Paciflc moved for summary judgment, arguing the
case should be dismissed because RLA cases are preempted by grievance procedures
that are appealed via arbitration. Musachia opposes dismissal on summary judgment,
arguing the case arises under FELA § 60, not the RLA, and thus should be remanded.
The parties agree the issue that governs the motion for summary judgment is the same
issue that governed the motion to remand. Accordingly, the parties agree the Court
has only two options: if the Court finds the case arises under the RLA, the Court
should grant summary judgment because RLA cases are preempted; or, if the Court
finds the case arises under FELA § 60, the Court should remand because FELA § 60

cases are nonremovable.

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II. LAW & ANALYSIS

FELA § 60 provides,

Any contract, rule, regulation, or device whatsoever, the purpose, intent,

or effect of which shall be to prevent employees of any common carrier

from furnishing voluntarily information to a person in interest as to the

facts incident to the injury or death of any employee, shall be void, and

whoever, by threat, intimidation, order, rule, contract, regulation, or

device whatsoever, shall attempt to prevent any person from furnishing

voluntarily such information to a person in interest, or whoever

discharges or otherwise disciplines or attempts to discipline any

employee for furnishing voluntarily such information to a person in

interest, shall, upon conviction thereof, be punished . . . .
45 U.S.C. § 60. In other words, FELA § 60 “forbids a railroad to retaliate against an
employee who helps or testifies for a co-worker in the co-worker’s FELA claim.”
Mayon v. S. Pac. Transp. Co., 805 F.2d 1250, 1253 (5th Cir. 1986) (emphasis
omitted); see also Hendley v. Cem. of Georgia R.R. Co. , 609 F.2d 1 146, 1 150-51 (5th
Cir. 1980). Thus, an employee who helps or testifies for a co-worker in the co-
worker’s FELA claim “may have a cause of action under [FELA] § 60 for retaliatory
discharge.” Mayon, 805 F.2d at 1253. Under FELA § 60, a court may issue an
injunction to prevent ongoing violations of FELA § 60. Hendley, 609 F.2d at 1150,
1152-53 & n.5; see also Gonzalez v. S. Pac. Transp. Co., 773 F.2d 637, 641, 643-45
(5th Cir. 1985). The denial of backpay after the conclusion of a disciplinary hearing

that resulted in termination constitutes an ongoing violation ofFELA § 60 for which

a court may issue an injunction. Hendley, 609 F.2d at 1149~50, 1153 & n.5

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(“Although the disciplinary proceeding itself has been concluded, the unlawful effects
of the proceeding have not. The continued denial of back pay for the year that [the
plaintiff] was unemployed is a present unlawful interference with [the plaintiff’s]
right of employment, and constitutes a continuing violation of [FELA §] 60.”);
accord Gonzalez, 773 F.2d at 640.

The RLA requires railroad employees to attempt to settle all “minor disputes”
through grievance procedures and then allows appeal via arbitration before an
administrative board. Hena’ley, 609 F.2d at 1150, 1153. “Minor disputes are those
disputes which concern the application or interpretation of existing collective
bargaining contracts.” Id. Therefore, the question of whether a particular disciplinary
hearing violated FELA § 60 should be resolved by the courts, whereas the question
of whether a particular disciplinary hearing violated a collective bargaining
agreement should be resolved by the grievance procedures and arbitration. Hena'ley,
609 F.2d at 1151; see also G'onzalez, 773 F.2d at 643-45.

Thus, the Court must determine whether the facts in this case give rise to a
claim under FELA § 60 or the RLA. In his petition, Musachia alleges Union Pacific
“initiated and imposed disciplinary action against him in illegal retaliation for
[Musachia’s] engagement in the protected activity of providing information to

persons [in] interest in the context of an injured co-employee’s cause of action under

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[FELA], which such retaliation violated and continues to violate [FELA § 60].”3
Specifically, Musachia alleges Union Pacific terminated him because he gave
deposition and trial testimony in his co-worker, Gutierrez’s, FELA case.4 This is
exactly the type of conduct that FELA § 60 forbids_FELA § 60 “forbids a railroad
to retaliate against an employee who helps or testifies for a co-worker in the co-
worker’s FELA claim.” Mayon, 805 F.2d at 1253. Further, Musachia seeks
injunctive relief that includes reinstating his employment and clearing his disciplinary
record of reference to any charges, and he seeks “restitutionary relief comprising all
lost wages.”5 Union Pacific’s continued denial of employment and backpay
constitutes an ongoing violation of FELA § 60 for which a court may issue an
injunction. See Hena’ley, 609 F.2d at 1149_50, 1153 & n.5.

Union Pacific claims Musachia’s cause of action is mislabeled, and this case
truly arises under the RLA, because it is a wrongful discharge claim that concerns the
application of a collective bargaining contract, Although Musachia asserts Union

Pacific violated the collective bargaining agreement between the parties by bringing

 

3 No!ice of Removal, Document No. l, Exhibit 4 at 5 (Plaintijfs ’ Origz'nal and Verifz`ea’
Petz'tl`on) [hereinafter Pelz`tion].

4 Petition, supra note 3, at 5-8.

5 Petition, supra note 3, at 9-10.

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disciplinary charges too late after discovering Musachia’s alleged misconduct,6
Musachia claims this “procedural irregularity,” along with other procedural
irregularities, “permit[ ] the inference that the legitimate business reason given by
[United Pacific] for its disciplinary action against [Musachia] was really a pretext for
an impermissible discriminatory and/or retaliatory motive.”7 Thus, Musachia’s
reason for asserting violation of the collective bargaining agreement is to support or
provide evidence of retaliation The true dispute is whether Union Pacific’s motive
to terminate Musachia was retaliatory, not whether his termination violated the
collective bargaining agreement8 Accordingly, the Court finds Musachia’s claim for
injunctive relief arises under FELA § 60, not the RLA. Because this is not an RLA
case, the case is not preempted, and summary judgment is denied.

Both parties agree that claims under FELA § 60 originally filed in state court

cannot be removed to federal court. See 28 U.S.C. § 1445(a) (prohibiting removal of

 

6 Petition, supra note 3, at 7; Plaintiff’s Resporzse to Defena’ant ’s Motion for Summary
Judgment, Document No. 34 at 10.

7 Plaintiff’s Response to Defendarzt ’s Motion for Summary Jua'gment, Document No.
34 at 10, 18; see also Plaintijj”’s Supplemental Response to Defendant ’s Motion for Summary
Judgment, Document No. 36 at 1-2.

8 Union Pacific alleges Musachia provided false testimony inp Gutierrez’ s FELA case.
“[T]he furnishing of information known to be false, with deliberate deceptive intent,” is not
protected by FELA § 60. Gorzzalez, 773 F.2d at 640. However, whether the information is
false is an issue of fact to be decided by the courts. Id. at 639-40, 644. Even if an arbitrator
concluded Musachia provided false testimony, the arbitrator’ s conclusion would neither moot
nor estop Musachia’s FELA § 60 claim in court. Ia’. at 639.

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any civil action against a railroad arising under 45 U.S.C. § 60). Because this case
arises under FELA § 60 and was originally filed in state court, the case is remanded.
III. CONCLUSION

Based on the foregoing, the Court hereby

ORDERS that Defendant Union Pacific Railroad Company’s Motion for
Summary Judgment (Docurnent No. 27) is DENIED. The Court further

ORDERS that this case is REMANDED to the 234th Judicial District Court
of Harris County, Texas.

SIGNED at Houston, Texas, on this la day of June, 2014.

®.v.>lll-Y-'t

DAVID HITTNER
United States District Judge

 

